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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )           4:03CR3014-1
                                          )
             Plaintiff,                   )
                                          )           JUDGMENT
      vs.                                 )
                                          )
HA T. T. NGUYEN,                          )
                                          )
             Defendant.                   )


      Pursuant to the court’s memorandum and order previously issued this date,

       IT IS ORDERED that judgment is entered for the United States and against the
defendant, providing that the defendant shall take nothing and the defendant’s motion
(filing 310) to vacate, set aside or the correct her sentence under 28 U.S.C. § 2255 is
denied on the merits.

      DATED: May 5, 2005.                     BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
